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February 26, 2024

Honorable Amit P. Mechta
U.S. District Court Judge
333 Constitution Ave., N.W.
Washington, D.C. 20001

Re: United States v. Thomas E. Caldwell, 22-APM-15
(Third update as to medical records and I.M.E.)

Your Honor:

At a status conference held on December 20, 2023, the Court requested that undersigned
counsel provide an update as to progress: 1) in obtaining up-to-date medical records; and, 2) in
procuring an Independent Medical Examination (IME) for Mr. Caldwell. On February 16, 2024
the undersigned requested and received permission to file the instant update with the Court.
Although the defense requires some additional time to provide the requested information to the
Court, the parties, at this point, are prepared to move forward to sentencing.

The defense requests that sentencing in this matter be delayed until late June or July to
allow the U.S. Supreme Court to render an opinion in United States v. Fischer, which could
potentially impact the most serious count of conviction, 18 U.S.C. § 1512(c)(2), against the
Defendant. The government objects to this request.

Alternatively, if the Court prefers a more expedited sentencing date, the parties jointly
request a date for late March or early April, with the defense required to file its medical
information and any additional arguments no later than March 11th, and the government’s
response due on or before March 21st.

Thank you for your consideration.

 hevid W. Fischer, ls.
